       Case 1:20-cv-01045-MLB Document 38 Filed 12/31/20 Page 1 of 2




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Donald J. Trump for President,
Inc.,

                          Plaintiff,     Case No. 1:20-cv-1045-MLB

v.

CNN Broadcasting, Inc., et al.,

                          Defendants.

________________________________/

                                   ORDER

     Plaintiff Donald J. Trump for President, Inc., sued Defendants

CNN Broadcasting, Inc., CNN Productions, Inc., and CNN Interactive

Group, Inc., for libel.    (Dkt. 1.)    On November 12, 2020, the Court

dismissed Plaintiff’s complaint for failing to plead actual malice

sufficiently but allowed Plaintiff the opportunity to file an amended

complaint. (Dkt. 34.) The deadline to do so was December 14, 2020. (Dkt.

36.) On that day, Plaintiff’s counsel informed the Court that it would not

be filing an amended complaint, and no amended complaint has been

filed. The Court finds dismissal without prejudice, for failure to comply
       Case 1:20-cv-01045-MLB Document 38 Filed 12/31/20 Page 2 of 2




with the Court’s order, is appropriate. See Foudy v. Indian River Cnty.

Sheriff’s Off., 845 F.3d 1117, 1126 (11th Cir. 2017) (“Federal courts

possess an inherent power to dismiss a complaint for failure to comply

with a court order.”). Accordingly, the Court DISMISSES this action

WITHOUT PREJUDICE.

     SO ORDERED this 31st day of December, 2020.




                                    2
